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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

RICKY TYRONE CROWDER,
                                                    Criminal Case No. 01-80098
            Movant,                                 Civil Case No. 16-12372
v.
                                                    SENIOR U.S. DISTRICT JUDGE
UNITED STATES OF AMERICA,                           ARTHUR J. TARNOW

            Respondent.
                                       /

 ORDER DENYING MOVANT’S MOTION TO VACATE SENTENCE [38]; DENYING AS
         MOOT GOVERNMENT’S MOTION TO STAY LITIGATION [42]

      Movant Ricky Tyrone Crowder, through counsel, filed the instant Motion to

Vacate Sentence pursuant to 28 U.S.C § 2255 [38] on June 24, 2016. The Government

filed a Response [42] on July 28, 2016. Because Crowder’s Motion is time-barred, the

Court DENIES the Motion to Vacate Sentence.

                   FACTUAL AND PROCEDURAL BACKGROUND

      On April 10, 2001, Crowder pleaded guilty to: Bank Robbery (Counts I and II)

in violation of 18 U.S.C. § 2113(a); and Using, Carrying and Brandishing a Firearm

During a Crime of Violence (Count III) in violation of 18 U.S.C. § 924(c)(1)(A)(ii).

Crowder’s Sentencing Guidelines were 188 to 235 months on Counts I and II and 84

months on Count III, based in part on an enhancement under the Guidelines’ career

offender provisions, § 4B1.2(a), for 1987 and 1991 Bank Robbery convictions.




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      On September 19, 2002, the Court sentenced Crowder to 188 months of

imprisonment on Counts I and II to run concurrently, and 84 months of imprisonment

on Count III to run consecutive to the term imposed on Counts I and II. [Dkt. #13].

Crowder filed an appeal on September 27, 2002. [Dkt. #14]. On June 4, 2004, the

Sixth Circuit affirmed the judgment and sentence of this Court. [Dkt. #23].

      On April 16, 2007, Crowder filed a Motion to Reduce Sentence [26] Pursuant

to 18 U.S.C. § 3582(c)(2). The Court denied the Motion to Reduce Sentence on

February 7, 2008. [Dkt. #33]. On February 19, 2008, Crowder filed a Notice of

Appeal [34]. The Sixth Circuit dismissed the appeal for want of prosecution on April

18, 2008. [Dkt. #36].

      On June 24, 2016, Crowder filed the instant Motion to Vacate Sentence [38]

seeking relief under Johnson v. United States, 135 S. Ct. 2551 (2015). Crowder argues

that he is entitled to resentencing under Johnson because his 1987 and 1991 bank

robbery convictions no longer qualify as “crimes of violence” under § 4B1.2(a).

      In lieu of a response, the Government filed a Motion to Stay Litigation Pending

Supreme Court’s Decision in Beckles v. United States [42] on July 28, 2016.

                                       ANALYSIS

      To succeed on a motion to vacate, set aside, or correct sentence, a petitioner

must allege: “(1) an error of constitutional magnitude; (2) a sentence imposed outside

the statutory limits; or (3) an error of fact or law that was so fundamental as to render



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the entire proceeding invalid.” Pough v. United States, 442 F.3d 959, 964 (6th Cir.

2006) (quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th Cir. 2003)).

      A petitioner seeking relief under 28 U.S.C. § 2255 is bound by a one-year

period of limitation. The limitations period begins from the latest of:

      (1) the date on which the judgment of conviction becomes final;

      (2) the date on which the impediment to making a motion created by
      governmental action in violation of the Constitution or laws of the
      United States is removed, if the movant was prevented from making a
      motion by such governmental action;

      (3) the date on which the right asserted was initially recognized by the
      Supreme Court, if that right has been newly recognized by the Supreme
      Court and made retroactively applicable to cases on collateral review; or

      (4) the date on which the facts supporting the claim or claims presented
      could have been discovered through the exercise of due diligence.

      28 U.S.C. § 2255(f).

       I.     Crowder’s Motion is untimely under § 2255(f)(1)

      “For the purpose of starting the clock on § 2255’s one-year limitation period, a

judgment of conviction becomes final when the time expires for filing a petition for

certiorari contesting the appellate court’s affirmation of the conviction.” Clay v.

United States, 537 U.S. 522 (2003). A petition for certiorari must be filed within 90

days of the entry of judgment. Penry v. Texas, 515 U.S. 1304, 1305 (1995).

      Crowder’s conviction became final on September 2, 2004, 90 days after the

Sixth Circuit affirmed his conviction. To comply with the one-year period of

limitations set forth in § 2255(f)(1), Crowder should have filed this Motion on or

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before September 2, 2005. Crowder did not file this Motion until June 24, 2016, over

ten years after his conviction became final. Therefore, the Motion is untimely.

       II.    Crowder does not qualify for relief under Johnson v. United States

      Crowder submits that the instant Motion is timely pursuant to § 2255(f)(3)

because he filed the Motion within one year of the Supreme Court’s ruling in

Johnson, decided on June 26, 2015.

      In Johnson, the Supreme Court held that “imposing an increased sentence

under the residual clause of the Armed Career Criminal Act [ACCA] violates due

process” because the residual clause is unconstitutionally vague. 135 S. Ct. at 2554.

However, Crowder was sentenced under the career offender provisions of the

Sentencing Guidelines, not under the ACCA. In Beckles v. United States, 137 S. Ct.

886, 888 (2017) the Supreme Court held that the Sentencing Guidelines, unlike the

ACCA, are not subject to a vagueness challenge.

      Although Beckles held that Johnson did not apply to the advisory Sentencing

Guidelines, the case left open the question of whether Johnson applies to the pre-

Booker, mandatory Guidelines. Id. at 903 n.4 (“The Court’s adherence to the

formalistic distinction between mandatory and advisory rules at least leaves open the

question whether defendants sentenced to terms of imprisonment before our decision

in United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005)—

that is, during the period in which the Guidelines did ‘fix the permissible range of

sentences,’ ante, at 892—may mount vagueness attacks on their sentences.”).

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      The Court sentenced Crowder in 2002 under the mandatory Guidelines. While

Beckles does not control in this case, Raybon v. United States, 867 F.3d 625 (6th Cir.

2017) forecloses Crowder’s argument for relief under Johnson. Raybon was sentenced

to 295 months of imprisonment in 2004. Id. at 628. Ten years later, Raybon moved to

vacate his sentence pursuant to § 2255 based on Johnson. Id. The Sixth Circuit denied

Raybon’s petition as untimely under § 2255(f)(1) and (f)(3). Id. at 629. In response to

Raybon’s argument that his petition was timely under § 2255(f)(3) because he had

filed it within one year of the Supreme Court’s decision in Johnson, the Court

explained:

      Because it is an open question, it is not a right that has been newly
      recognized by the Supreme Court let alone one that was made
      retroactively applicable to cases on collateral review . . . . In other words,
      [b]ecause the Supreme Court has not decided whether the residual clause
      of the mandatory Sentencing Guidelines is unconstitutionally vague—
      and did not do so in Johnson [2015]—Petitioner’s motion is untimely
      under § 2255(f)(3) . . . .

Id. at 630 (internal citations and quotation marks omitted).

      Similar to Raybon, Crowder filed the instant § 2255 Motion over ten years after

his conviction became final. The Sixth Circuit has made clear that Crowder’s claim

for relief under Johnson does not constitute a right newly recognized by the Supreme

Court. In consonance with Raybon, Crowder’s Motion is untimely and “cannot be

saved under § 2255(f)(3).” Id.




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                                    CONCLUSION

      The Court need not reach the merits of the Motion [38] because it is time-

barred.

      Accordingly,

      IT IS ORDERED that Movant’s Motion to Vacate Sentence [38] is DENIED.

Defendant is GRANTED a certificate of appealability.

      IT IS FURTHER ORDERED that the Government’s Motion to Stay

Litigation [42] is DENIED as moot.

      SO ORDERED.



                                         s/Arthur J. Tarnow
                                         Arthur J. Tarnow
Dated: March 2, 2018                     Senior United States District Judge




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